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UNITED STATES OF AMERICA ‘F'f=ll- '
-vs- Case No. 2:05cr20211-D
JOHN SIMMONS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):
APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this 3 day of J une, 2005.

”"C:?QM~

TU M. PHAM
uNiTED sTATES MAGISTRATE JUDGE

Copies furnished to:

United States Attomey

United States Marshal

Pretrial Serviees Ofi'lce

Assistant Federal Public Defender
lntake

JOHN SIMMONS

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This notice confirms a copy of the document docketed as number 6 in
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June 8, 2005 to the parties listed.

 

 

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

 

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